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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
 4                       IN THE UNITED STATES DISTRICT COURT
 5                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 6
 7                                              )
     UNITED STATES OF AMERICA,                  )   Case No.: 2:12-cr-00185-TLN
 8                                              )
                  Plaintiff,                    )
 9                                              )   STIPULATION AND ORDER FOR
         vs.                                    )   CONTINUANCE OF JUDGMENT AND
10   NADEEM KHAN,                               )   SENTENCING
                                                )
11                Defendant.                    )   Date: August 17, 2017
                                                )   Time: 9:30 a.m.
12                                              )   Judge: Troy L. Nunley
                                                )
13
14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for June 1, 2017, is continued to August 17, 2017, at
16
     9:30 a.m. in the same courtroom. The continuance is being requested because defense
17
     counsel needs additional time to prepare for sentencing. Probation has also been
18
     informed of the continuance request. Jason Hitt, Assistant United States Attorney, and
19
     Thomas A. Johnson, Defendant’s attorney, agree to this continuance.
20
21
     IT IS SO STIPULATED.
22
23   DATED: May 26, 2017                             By:    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
24                                                          Attorney for Nadeem Khan
25
     DATED: May 26, 2017                                    PHILLIP A. TALBERT
26                                                          United States Attorney
27                                                    By:    /s/ Jason Hitt
                                                            JASON HITT
28                                                          Assistant United States Attorney



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 1   IT IS SO ORDERED.
 2   DATED: May 26, 2017
                                                  Troy L. Nunley
 3                                                United States District Judge
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